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                       UNITED STATES DISTRICT COURT
                         DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA            )
                                    )
V.                                  )       CRIMINAL NO. 12-10025-DJC
                                    )
LYNCH ARTHUR                        )


                  GOVERNMENT’S SENTENCING MEMORANDUM

     Defendant Lynch Arthur, is a violent career criminal in the

literal, if not statutory, sense.           Arthur and a co-defendant,

Ronald E. Brown, were arrested following the brazen armed robbery

of a MetroPCS store in Dorchester on October 31, 2011.

     The United States Government respectfully submits this

memorandum in connection with the upcoming sentencing hearing on

this matter, currently scheduled for June 28, 2013.            As discussed

below, the Government agrees with Probation’s conclusions

contained in the Pre Sentence Report (the “PSR”) dated May 2,

2013.    Specifically, the Government agrees that Defendant is a

Career Offender.      As a Career Offender convicted under 18 U.S.C.

§ 924(c), Defendant’s advisory guideline range, with acceptance

of responsibility, is 262-327 months [PSR ¶ 111].            The Government

believes that a sentence of 262 months’ imprisonment, the lowest

end of the Guideline range, five years’ supervised release and a

mandatory $300 special assessment is an appropriate disposition

to this matter.




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                    DEFENDANT’S CRIMINAL OFFENSE

     The Government incorporates the facts as stated in the PSR,

which are uncontested.    This Court is already familiar with many

of the salient facts, having presided over a three-day motion to

suppress hearing and a five-day trial of the co-defendant, Ronald

E. Brown.   The Government, nonetheless, sets forth briefly the

relevant background, without providing complete detail as set

forth during the aforementioned hearings.

     On October 31, 2011, at 11:40 a.m. two black males, later

identified as Defendants Lynch Arthur and Ronald E. Brown,

entered the MetroPCS store at 593 Washington Street, Dorchester,

Massachusetts.   The only person in the store at the time was the

clerk.   One of the men was skinny (Brown), the other heavy-set

(Arthur).   They were both wearing black clothing, including black

jackets, and both were wearing sunglasses.        Arthur was carrying a

small black bag, later discovered to contain a roll of duct tape.

Brown had dreadlocks, a small beard, and was wearing black boots

and a burgundy hooded sweatshirt under his jacket.         Surveillance

footage shows that Brown was also wearing a Red Sox cap with a

red brim.   Arthur was wearing a heavy black coat and a black knit

hat with a brim.

     Brown approached the counter and distracted the clerk,

asking to see a cell phone.     Meanwhile, Arthur went behind the

counter and lifted his shirt, displaying a firearm.         Brown told


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the clerk that they did not want to hurt her, they only wanted

the money, and she should do as they told her.        Brown came behind

the counter and all three went into the back room.         At this

point, Brown, also armed with a firearm, ordered the clerk to

remove the cash from the front register.       The clerk complied with

Brown’s demands and retrieved cash from the front register.            The

clerk then placed the cash into the black bag which Arthur had

been carrying.   Arthur then removed a roll of duct tape from the

bag and had the clerk lay down on the floor.        He then duct taped

her feet, hands, and mouth.     During the robbery, Arthur was

wearing white work gloves with blue palms.        Brown was observed

ransacking the storage bin in the back room, removing additional

U.S. currency. While the robbery was in progress, some customers

had come into the front of the store seeking assistance.          Brown

went out to the front of the store and assured them that somebody

would be with them shortly.     Brown then removed a trash bag from

the barrel and the two men left the rear room and then the store.

     A post robbery audit revealed that the defendants had stolen

$664.00 in cash and coins.

     When the clerk heard the bell signaling that the front door

had opened and closed, she left the back room.        She had succeeded

in getting the duct tape off her wrists and mouth but had trouble

removing it from around her ankles. She hopped to the front of

the store, hit the panic button, and placed calls to the police


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and store officials.

     Two Boston Police officers were on a detail nearby and the

police responded quickly.        Officers obtained general descriptions

of the robbers from the clerk and broadcast them.            Officer

Timothy Golden heard the transmissions and began searching for

the men.     An initial report indicated the men had fled down

Moultrie Street. Once on Moultrie he observed a man raking

leaves. After speaking with the man and obtaining further

information, Officer Golden continued down Moultrie scanning for

the suspects.     When Golden got to the end of Moultrie, he turned

left onto Allston and took the next left onto Kenwood Street.

Golden stated that he observed no one else on the street at that

time.    As he turned onto Kenwood Street, he saw two black males

walking toward him, away from Washington Street and toward the

T-station.     One was thin, the other heavy.        The thin one had

dreadlocks and was wearing a burgundy sweatshirt.            The heavier

one had on a black jacket.        With the exception of the thin man's

outerwear, they appeared consistent with the descriptions of the

robbers.

     Officer Golden stopped the men in front of 90 Kenwood

Street.    The men proved to be Ronald E. Brown and Lynch Arthur.

As Officer Golden engaged the men in conversation, he received

updated broadcasts with more descriptive information about the

robbers.     He saw that Brown was picking what appeared to be tape


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from his fingers and dropping it in the gutter.        In Officer

Golden's experience, people sometimes put tape on their fingers

to avoid identification.    Other officers began arriving, and in

the mulch in front of the next house, in the direction from which

the men had been walking, the police discovered a black jacket, a

black scarf, and a Red Sox cap with a red brim.        It was later

determined that the black coat contained a pair of sunglasses.

     At this point, based on observations of the officers and

information that they had acquired, a decision was made to return

Arthur and Brown to the MetroPCS store for a show-up

identification.   At the store, the clerk had the opportunity to

view each of the men separately through the front window.          She

saw Brown first and identified him as the skinny robber, although

he was no longer wearing the black jacket.        She stated that she

recognized his face and the numerous tattoos on his neck.          The

clerk then saw Defendant and identified him as the heavy-set

robber.   Upon seeing Arthur, the clerk stated repeatedly, “That’s

him, that’s him.”    The clerk then fell over and had to be

assisted to a chair.

     Contemporaneous with the show-up, the police continued

searching the Kenwood Street area and recovered a black zippered

bag in a recycling bin next to 66 Kenwood Street.         This discovery

was approximately 50 feet from where Brown and Arthur were

initially stopped.    The bag contained two loaded handguns, duct


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tape, and U.S. currency in bills and coins.

     During Arthur’s booking, he was found to be in possession of

white work gloves with blue palms, a black knit cap with a brim,

and sunglasses.          These items are the very ones Arthur was

observed wearing on the store surveillance footage.

     On May 10, 2013, co-defendant Ronald E. Brown was found

guilty following a five-day jury trial on the above charges.

Brown is currently scheduled for sentencing on August 7, 2013.

                      GOVERNMENT’S SENTENCING RECOMMENDATION

     On March 13, 2013, Lynch Arthur entered a guilty plea on the

above charges.          The Advisory Guidelines (“Guidelines”), as

determined by Probation, recommend a sentence of 262-327 months

[PSR ¶ 111].          The Government agrees with this determination and

believes that a sentence of 262 months’ imprisonment, the lowest

end of the Guideline range, is merited.

     A.          The Applicable Sentencing Guidelines

                 1.    Defendant is a Career Offender1

     Pursuant to the Sentencing Guidelines § 4B1.1, Defendant

qualifies as a Career Offender having sustained two predicate

convictions, as outlined in the PSR ¶ 60.              Pursuant to

§ 4B1.1(c), Defendant’s Guideline range would be 360 months to

life.        However, with Defendant’s acceptance of responsibility, a


        1
       In correspondence to the U.S. Probation Department dated
May 20, 2013, defendant has stipulated that the career offender
provisions apply to him.

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three level reduction is to be applied, resulting in an adjusted

range of 262-327 months, § 4B1.1(c)(3). [PSR ¶ 111].



          2.   Defendant’s Predicate Crimes

     Under U.S.S.G. § 4B1.1, in order to qualify as a Career

Offender: 1) a defendant must be 18 when he committed the instant

offense, 2) the instant offense he committed must be a felony

that is either a crime of violence or a controlled substance

offense, and 3) a defendant must have at least two prior felony

convictions of either a crime of violence or an applicable

controlled substance offense.     It is undisputed that defendant is

18 years old and that a conviction under 18 U.S.C. § 1951 is a

crime of violence.   The only analysis that this Court must make

is whether the following criminal convictions qualify as

predicate crimes under the U.S.S.G. § 4B1.2.

     1) PSR ¶ 54- On December 3, 1996, Defendant was convicted in

Suffolk Superior Court of distribution of a Class A substance

within a school zone.    Defendant was sentenced to two and a half

years’ imprisonment and two years’ probation.        This conviction is

a controlled substance violation under U.S.S.G. § 4B1.1(a) and,

therefore, a predicate felony for Career Offender purposes.

     2) PSR ¶ 56 - On June 19, 2002, Defendant was convicted in

the U.S. District Court of Maine (01-CR-87 PC) of possession with

intent to distribute cocaine in excess of 50 grams.         Defendant


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was sentenced to 102 months’ imprisonment and five years’

supervised release.    This conviction is a controlled substance

violation under U.S.S.G. § 4B1.1(a) and, therefore, a predicate

felony for Career Offender purposes.

     B.   Defendant is a Violent Career Criminal

     Defendant, age 41, has a long and violent criminal record

beginning in 1984, age 12 (unarmed robbery), and continuing to

his most recent arrest.    These convictions are both drug-related

and include robbery and firearm possessions.        In addition, the

PSR is replete with instances of parole violations, [PSR          ¶ 50,

52, 56], and further outlines numerous instances of institutional

disciplinary violations, [PSR ¶ 54-56].       Defendant’s life has

revolved around violent criminal activity and he has spent the

vast majority of his adult life incarcerated.

     C.   Defendant’s Refusal to Rehabilitate

     Defendant has no regard for the law, nor has he made any

attempts at rehabilitation.     As set forth in the PSR, the

Defendant has a continuous criminal history beginning from the

age of 12 until his arrest in the instant case.        The numerous

state and federal criminal sentences that Defendant has received

have done nothing to curb his criminal activity.         During these

extended periods of incarceration, Defendant has had available

countless opportunities to avail himself of educational or

vocational programs.    It appears he has not taken advantage of


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any of these opportunities.

     D.     The Instant Offenses

     Armed robbery is one of the most serious and potentially

dangerous crimes committed in the United States today.          The

impact on the victim, employees, and its customers is both

significant and long-term.     The facts of this case warrant a

severe sentence with an extended period of incarceration.          This

robbery involved cold-hearted calculation, planning, and

execution.    This was not a random act, but a meticulously planned

event.    These actions caused significant terror for the clerk and

the Dorchester community.     This Court has had the benefit of

observing the effect on the clerk during her testimony at the

Motion to Suppress hearing and the trial of the co-defendant,

Ronald E. Brown.

     E.     Sentencing Factors Under 18 U.S.C. § 3553(a)

     18 U.S.C. § 3553(a) requires a sentencing court to consider

specific, enumerated factors when determining an appropriate

sentence.    These factors include: 1) “the nature and

circumstances of the offense and the history and characteristics

of the defendant” and 2) the need for the sentence imposed to

reflect the seriousness of the offense, to promote respect for

the law, to provide just punishment for the offense, to afford

adequate deterrence to criminal conduct, to protect the public

from further crimes of the defendant, and to provide for the


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needs of the defendant.

          1.    The History and Characteristics of the Defendant

     The Court has the benefit of the PSR to examine Defendant’s

criminal history.    The PSR paints a portrait of the defendant

that is chilling in its length and scope of his criminal history.

Defendant has an extensive record of criminal convictions, to

wit: unarmed robbery (age 12)[PSR ¶ 49]; possession of a firearm

without a license [PSR ¶ 50]; possession of a Class D substance

with intent to distribute [PSR ¶ 51]; possession of a firearm

without a license [PSR ¶ 52]; simple possession of a Class B

substance [PSR ¶ 53]; possession of a controlled substance in a

school zone and conspiracy to violate controlled substance laws

[PSR ¶ 54]; possession of a Class D substance [PSR ¶ 55]; and

conspiracy to distribute and possess with intent to distribute

cocaine (50 grams or more), for which he received a sentence of

102 months (District of Maine) [PSR ¶ 56].

     In addition, the PSR further outlines numerous instances of

institutional disciplinary violations, [PSR ¶ 54-56].          It is also

worth noting that Defendant committed the instant offense while

still under supervised release from his previous drug conviction

in Maine [PSR ¶ 56].    Arthur is scheduled for a Supervised

Release violation hearing following the conclusion of this

matter.

     Defendant is a Career Offender in the literal, and


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statutory, definition under the Sentencing Guidelines.          Defendant

has engaged in criminal activity or been incarcerated for almost

the entirety of his adult life.      Defendant has numerous

controlled substance and firearms convictions and has continued

to commit these types of crimes, even after sustaining

convictions on numerous occasions.       His inability and refusal to

conform his behavior to acceptable societal norms can no longer

be tolerated.

          2.    The Nature and Circumstances of the Offense

     The instant offense is an example of a clear criminal

undertaking.    Defendant and his co-defendant, each armed with

loaded semi-automatic weapons, participated in a premeditated

armed robbery.    Upon entering the store, Defendant lifted up his

jacket and displayed a firearm in his waistband in order to

intimidate the victim.     Defendant wore gloves and his co-

defendant used tape/bandages in an effort to conceal their

identities.    Defendant carried a travel bag into the store and

can be seen on the video removing a roll of duct tape, which he

then used to restrain the victim’s hands, feet, and mouth. And

while Defendant has a lengthy history of drug-related offenses,

there is no evidence that this robbery was a drug-fueled

undertaking.

       3. The Sentence Imposed Must Reflect the Seriousness of
          the Offense

     18 U.S.C. § 3553(a)(2)(A) directs a sentencing court to

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consider the need for the sentence to reflect the seriousness of

the offense committed.     As noted above, Defendant engaged in a

serious violent crime along with his co-defendant.         Furthermore,

Defendant used tools of intimidation during the robbery: firearms

and duct tape.    Finally, having been convicted of a felony prior

to the instant offense, Defendant was prohibited by the federal

government from carrying a firearm of any kind.         Any one of these

offenses would constitute a serious offense; the commission of

all three arising out of a single criminal undertaking clearly

elevates Defendant’s conduct to a very serious offense.          Any

sentence less than the 262 months recommended by the Guidelines

would not adequately reflect the serious nature of Defendant’s

criminal conduct in this matter.

          4.     The Sentence Must Promote Respect for the Law

     While Defendant has demonstrated an acceptance of

responsibility for the offense [PSR ¶¶ 44-45], this is adequately

reflected in the recommended Guideline sentence of 262 months.

Anything less than the Guideline recommendation will not promote

respect for the law.    While the public can understand that there

are circumstances where a defendant may deserve a sentence less

than that recommended by the Guidelines, this is not one of those

times.

          5.     The Sentence Must Provide Just Punishment for the
                 Offense, Afford Adequate Deterrence to Criminal
                 Conduct, and Protect the Public from Further
                 Crimes of the Defendant

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     Defendant has a long history of violent criminal behavior

and clearly needs to be kept away from the public to protect them

from future crimes.    Adherence to the recommended Guideline

sentence will create an adequate deterrent to similar criminal

behavior and justly punish Defendant for his actions.



                               CONCLUSION

     On October 31, 2011, defendants Lynch Arthur and Ronald

Brown engaged in a brazen cowardly act of violence when they

robbed the MetroPCS store, armed with loaded semi-automatic

weapons.   For the above reasons, this Court should sentence

Defendant to 262 months’ imprisonment, the lowest end of the

Guideline range, five years’ supervised release, and a mandatory

$300 special assessment.



                                  CARMEN M. ORTIZ
                                  United States Attorneys

                            By:   /s/ Kenneth G. Shine
                                  KENNETH G. SHINE
                                  ROBERT E. RICHARDSON
                                  Assistant U.S. Attorney
                                  (617) 748-3100




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                      CERTIFICATE OF SERVICE

     This is to certify that I have this day served a copy of the
foregoing upon all counsel of record by electronic filing notice.


                                  /s/ Kenneth G. Shine
                                  KENNETH G. SHINE
                                  Assistant U.S. Attorney




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